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        Moreover, BioNTech’s selective assertion and waiver of privilege has called into question
many of BioNTech’s privilege log entries. There are numerous entries across BioNTech’s
privilege logs where documents were withheld that purportedly relate to legal advice and do not
include an attorney in the “Author of From,” “To,” “CC,” or “BCC” fields of BioNTech’s privilege
logs.

        To the extent BioNTech will not re-produce the documents it has clawed back or withheld,
please promptly provide your availability for a meet and confer.

Best regards,

/s/ Annaleigh E. Curtis


Annaleigh E. Curtis
